Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 1 of 16 Page ID #:1



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 8
                       UNITED STATES DISTRICT COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA
10
                               WESTERN DIVISION
11

12                                       )
13
     SUSHI NOZAWA, LLC, a Delaware )             Case No.
     limited liability company,          )
14
                                         )       PLAINTIFF SUSHI NOZAWA,
                              Plaintiff, )       LLC’S COMPLAINT FOR: (1)
15
                                         )       FEDERAL TRADEMARK
           vs.                           )       INFRINGEMENT [15 U.S.C. § 1114];
16
                                         )       (2) FEDERAL UNFAIR
     The HRB Experience, LLC, a          )       COMPETITION [15 U.S.C. § 1125(a)];
17
     California liability company,       )       (3) COMMON LAW UNFAIR
                                         )       COMPETITION; AND (4)
18
                              Defendant. )       CALIFORNIA STATUTORY
                                         )       UNFAIR COMPETITION [Cal. Bus.
19
                                         )       & Prof. Code §§ 17200 et seq.]
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                                         )       JURY TRIAL DEMANDED
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Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 2 of 16 Page ID #:2



 1         Plaintiff Sushi Nozawa, LLC (“Sushi Nozawa”) alleges as follows:
 2                             JURISDICTION AND VENUE
 3         1.     This is a civil action seeking monetary damages and injunctive relief
 4   under federal and California law based upon trademark infringement and unfair
 5   competition by defendant The HRB Experience, LLC (“Defendant”). Defendant has
 6   recently adopted the phrase THE HAND ROLL BAR EXPERIENCE and THE HRB
 7   EXPERIENCE (the “THE HAND ROLL BAR EXPERIENCE Marks”) in
 8   connection with restaurant services and to sell sushi in direct competition with Sushi
 9   Nozawa, which provides restaurant services and sells sushi under the THE
10   ORIGINAL HAND ROLL BAR and THE ORIGINAL HAND ROLL BAR
11   FOUNDED 2014 LOS ANGELES marks, each of which is protected by federal
12   trademark registrations. According to Defendant’s website, physical signs, and social
13   media feeds, Defendant is opening restaurants near Sushi Nozawa’s restaurants very
14   soon. Defendant’s use of the THE HAND ROLL BAR EXPERIENCE Marks is
15   likely to confuse and mislead the consuming public, and injure Sushi Nozawa, by
16   causing consumers to believe incorrectly that Defendant’s products originate from or
17   are authorized by Sushi Nozawa.
18         2.     The Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
19   1338(a) over Sushi Nozawa’s First and Second Claims for Relief for infringement of
20   federally registered trademarks and unfair competition actionable under the Lanham
21   Act, 15 U.S.C. §§ 1051 et seq., because the claims arise under an act of Congress
22   relating to trademarks. The Court has jurisdiction pursuant to 28 U.S.C. § 1338(b)
23   over Sushi Nozawa’s Third and Fourth Claims for Relief under California law for
24   common law unfair competition and statutory unfair competition under Cal. Bus. &
25   Prof. Code §§ 17200 et seq. because those claims are joined with substantial and
26   related claims under the trademark laws, and the Court also has supplemental
27   jurisdiction over those claims under 28 U.S.C. § 1367(a) because those claims are so
28   related to Sushi Nozawa’s claims within the Court’s original jurisdiction that they
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                                                                         4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 3 of 16 Page ID #:3



 1   form part of the same case or controversy under Article III of the United States
 2   Constitution.
 3          3.     This Court has personal jurisdiction over Defendant, and venue is proper
 4   in the Central District of California pursuant to 28 U.S.C. § 1391(b). Sushi Nozawa
 5   is informed and believes, and based thereon alleges, that Defendant is based in Los
 6   Angeles and plans to operate its restaurants throughout the Central District of
 7   California, including in Los Angeles. The effects of Defendant’s infringing acts have
 8   been felt in the State of California and in this District, where Sushi Nozawa is
 9   located, and a substantial part of the events or omissions giving rise to Sushi
10   Nozawa’s claims occurred in this District.
11                                         THE PARTIES
12          4.     Sushi Nozawa is a Delaware limited liability company having its
13   principal place of business in Santa Monica, California. Sushi Nozawa operates
14   several popular groups of restaurants specializing in sushi, and in particular, sushi
15   hand rolls, and related products and services.
16          5.     Sushi Nozawa is informed and believes, and based thereon alleges, that
17   Defendant is a California limited liability company, having a principal place of
18   business at 8271 Melrose Avenue, Los Angeles CA 90046. Sushi Nozawa is further
19   informed and believes, and based thereon alleges, that Defendant is planning to open
20   a chain of restaurants specializing in sushi hand rolls and related products and
21   services and will sell its products in this judicial district.
22                      SUSHI NOZAWA’S BUSINESS AND MARKS
23          6.     Sushi Nozawa was founded by legendary master sushi chef Kazunori
24   Nozawa who trained and owned sushi restaurants in Japan before moving to the
25   United States. When Chef Nozawa immigrated to the United States, he used his
26   many years of experience and training to open Sushi Nozawa in California in 1987
27   with the goal of providing high-quality ingredients and educating Americans on the
28   enjoyment and etiquette of excellent sushi. Known for his reputation of strictly
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                                                                           4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 4 of 16 Page ID #:4



 1   adhering to traditional sushi principles and rules and ejecting patrons who did not
 2   follow those principles or rules, Chef Nozawa was the first in many ways. He helped
 3   introduce and popularize the Omakase-style menu in the United States. He also
 4   helped create the first United States sushi restaurant dedicated to sushi hand rolls,
 5   KazuNori, opened in 2014.
 6         7.     At KazuNori, Sushi Nozawa creates a memorable experience centered
 7   all around the eating of Chef Nozawa’s famous sushi hand rolls, highlighting the role
 8   and relationship of each ingredient, from the freshest fish to the specially harvested
 9   seaweed to Chef Nozawa’s signature rice served at just the right temperature. Since
10   its unique creation, several others have copied KazuNori to varying degrees and
11   opened up sushi restaurants dedicated to or specializing in sushi hand rolls.
12         8.     Chef Nozawa has amassed a dedicated and enthusiastic following and
13   has received rave reviews from both food critics and consumers alike. Today, Sushi
14   Nozawa operates a group of successful sushi restaurants, including KazuNori,
15   SUGARFISH and Nozawa Bar, in 18 locations in the Los Angeles and New York
16   City areas. KazuNori also serves its sushi hand rolls at the well-known Santa
17   Monica Farmers’ Market. Sushi Nozawa’s restaurants have become a destination
18   that sushi lovers travel from all over the country to experience.
19         9.     Celebrated for its fresh, specially sourced ingredients and other high
20   standards of quality, KazuNori consistently rates as a top sushi restaurant in
21   customer satisfaction surveys and restaurant rankings and is often featured in various
22   media publications. Sushi Nozawa has amassed tremendous consumer goodwill
23   over the years and consumers have come to recognize KazuNori and THE
24   ORIGINAL HAND ROLL BAR and associate those brands with Sushi Nozawa and
25   its high-quality products and services.
26         10.    Sushi Nozawa owns a family of marks, along with the goodwill
27   associated therewith, that are used in its restaurants in association with its food
28   offerings, including the following valid and subsisting United States trademark
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                                                                            4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 5 of 16 Page ID #:5



 1   registrations (collectively, the “Registered Marks”) registered on the Supplemental
 2   Register of the United States Patent and Trademark Office (the “USPTO”):
 3         (a) U.S. Reg. No. 4,787,707, registered on August 4, 2015, for the mark THE
 4         ORIGINAL HAND ROLL BAR, registered in international class 43 for
 5         restaurant services, with a date of first use of April 30, 2014; and
 6         (b) U.S. Reg. No. 4,787,708, registered on August 4, 2015, for the mark THE
 7         ORIGINAL HAND ROLL BAR FOUNDED 2014 LOS ANGELES,
 8         registered in international class 43 for restaurant services, with a date of first
 9         use of April 30, 2014.
10         11.    True and correct copies of the registration certificates for the Registered
11   Marks are attached hereto as Exhibits A-B, respectively, and are incorporated by
12   reference.
13         12.    Sushi Nozawa owns all right, title and interest in and to the Registered
14   Marks. The Registered Marks have been used in interstate commerce, including
15   extensively in California, to identify and distinguish Sushi Nozawa’s products and
16   services for many years, and they serve as symbols of Sushi Nozawa’s quality,
17   reputation, and goodwill. Sushi Nozawa’s menu is well known across the United
18   States for its dedication to serving fresh, high quality and delicious food.
19         13.    Since at least as early as 2014, Sushi Nozawa has continuously used its
20   Registered Marks in connection with restaurant services and sushi products in
21   interstate commerce.
22         14.    Moreover, Sushi Nozawa is the applicant for pending trademark
23   applications filed on the Principal Register for the same marks (collectively, the
24   “Pending Applications”):
25         (a) U.S. Ser. No. 88/570,455, filed on August 7, 2019, for the mark THE
26         ORIGINAL HAND ROLL BAR, in international class 43 for restaurant
27         services, with a date of first use of April 30, 2014; and
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                                                                            4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 6 of 16 Page ID #:6



 1         (b) U.S. Ser. No. 88/570,512, filed on August 7, 2019, for the mark THE
 2         ORIGINAL HAND ROLL BAR FOUNDED 2014 LOS ANGELES, in
 3         international class 43 for restaurant services, with a date of first use of April
 4         30, 2014.
 5         15.    Sushi Nozawa makes use of its Registered Marks in interstate
 6   commerce, including extensively throughout California, by displaying them on
 7   product packaging, menus, signage, promotional materials and advertising materials,
 8   both online and in print.
 9         16.    Sushi Nozawa has invested millions of dollars in developing, advertising
10   and otherwise promoting the Registered Marks in the United States in an effort to
11   create a strong association among Sushi Nozawa’s products and services, its
12   consumer goodwill and its Registered Marks.
13         17.    As a result of the care and skill exercised by Sushi Nozawa in the
14   conduct of its business, the high quality of its products and services offered under its
15   Registered Marks, and the extensive advertising, sale and promotion of Sushi
16   Nozawa’s products and services under the Registered Marks, the Registered Marks
17   have acquired secondary meaning throughout the United States, and they are widely
18   recognized by the general consuming public as a designation that Sushi Nozawa is
19   the source of the goods and services bearing the Registered Marks.
20         18.    Since the date of first use of each of the Registered Marks, Sushi
21   Nozawa has intended to maintain exclusive ownership of the Registered Marks and to
22   continue use of the Registered Marks in interstate commerce, including extensively in
23   California, in connection with Sushi Nozawa’s products and services.
24         19.    Sushi Nozawa has carefully monitored and policed the use of the
25   Registered Marks and maintains tight control over the use of the Registered Marks.
26                          DEFENDANT’S INFRINGING ACTS
27         20.    Sushi Nozawa is informed and believes, and based thereon alleges, that
28   Defendant is in exactly the same industry as Sushi Nozawa, as Defendant’s
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                                                                            4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 7 of 16 Page ID #:7



 1   marketing demonstrates it intends to operate a chain of sushi restaurants specializing
 2   in sushi hand rolls.
 3         21.      Sushi Nozawa is informed and believes, and based thereon alleges, that
 4   Defendant will soon open and operate at least two locations in California, both in the
 5   Los Angeles area. A true and correct screenshot of the home page of Defendant’s
 6   webpage (https://www.thehrbexperience.com/) as of the date of filing of the original
 7   Complaint on September 4, 2019 is attached hereto as Exhibit C and a true and
 8   correct copy of a photo of one of Defendant’s storefront is attached hereto as Exhibit
 9   D. Both restaurants will be in close proximity to Sushi Nozawa’s KazuNori
10   restaurants.
11         22.      Defendant has advertised, and continues to advertise, its
12   restaurants and products in connection with THE HAND ROLL BAR
13   EXPERIENCE Marks. See Exhibit C. Defendant also advertised, and
14   continues to advertise, its restaurants and products on online and through its
15   social media accounts. See e.g., Defendant’s profile on Instagram. A true and
16   correct copy of a screenshot of Defendant’s Instagram page as of the filing of
17   the original Complaint on September 4, 2019 is attached hereto as Exhibit E.
18         23.      Sushi Nozawa is informed and believes, and based thereon alleges, that
19   Defendant was aware of THE ORIGINAL HAND ROLL BAR and THE ORIGINAL
20   HAND ROLL BAR FOUNDED 2014 LOS ANGELES marks before it began using
21   THE HAND ROLL BAR EXPERIENCE Marks. Defendant has been put on notice
22   of the Registered Marks and Defendant’s infringement of intellectual property rights
23   associated with those marks.
24         24.      Defendant filed an intent-to-use application with the USPTO as follows:
25   U.S. Ser. No. 88/288,109, filed on February 4, 2019, for the mark HRB, in
26   international class 43 for restaurant services featuring hand rolls (“Defendant’s
27   Trademark Application”). A Notice of Allowance was issued July 23, 2019.
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                                                                           4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 8 of 16 Page ID #:8



 1         25.    Sushi Nozawa was not aware of Defendant’s Trademark Application
 2   until after the opposition period.
 3         26.    In filing Defendant’s Trademark Application, Defendant did not fill in
 4   the field that explains the meaning or significance of letters in HRB. Sushi Nozawa
 5   is informed and believes, and based thereon alleges, that Defendant did not disclose
 6   in its application filing that “HRB” is an acronym for “hand roll bar” to avoid having
 7   the Registered Marks from being cited against Defendant’s Trademark Application.
 8         27.    Sushi Nozawa is informed and believes, and based thereon alleges, that
 9   Defendant selected THE HAND ROLL BAR EXPERIENCE Marks because of Sushi
10   Nozawa’s popularity and its success with a sushi restaurant dedicated to sushi hand
11   rolls. Sushi Nozawa is informed and believes, and based thereon alleges, that
12   Defendant selected THE HAND ROLL BAR EXPERIENCE Marks to trade off of
13   Sushi Nozawa’s reputation and the goodwill in and consumer recognition of THE
14   ORIGINAL HAND ROLL BAR because each of the Registered Marks connotes a
15   high standard of quality. In fact, Defendant has purposefully posted comments on
16   Instagram posts associated with KazuNori, referring viewers of the post to
17   Defendant’s business. Such actions evidence an effort to enhance consumer
18   confusion. See e.g., Instagram post with Defendant’s comments on a photo of
19   KazuNori’s food. A true and correct copy of a screenshot of the post as of July 11,
20   2019 is attached hereto as Exhibit F.
21         28.    Sushi Nozawa is not affiliated in any way with Defendant’s business.
22         29.    Without authorization from Sushi Nozawa, and despite the fact that
23   Defendant is in no way affiliated with Sushi Nozawa, Defendant has advertised, and
24   continues to advertise, its restaurants using THE HAND ROLL BAR EXPERIENCE
25   Marks. Defendant has indicated to Sushi Nozawa that it will continue such use.
26         30.    Defendant’s unauthorized use of THE HAND ROLL BAR
27   EXPERIENCE Marks in the offer and sale of its sushi products, especially sushi hand
28   rolls, and in its marketing and advertising materials creates a likelihood of consumer
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                                                                         4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 9 of 16 Page ID #:9



 1   confusion because actual and prospective customers are likely to believe that Sushi
 2   Nozawa has approved or licensed Defendant’s use of its marks, or that Sushi Nozawa
 3   is somehow affiliated or connected with Defendant or its services. In fact, Sushi
 4   Nozawa has not sponsored, licensed, or authorized Defendant’s goods or services,
 5   and Defendant and its services are not affiliated or connected with Sushi Nozawa.
 6   Further, Defendant’s use of Sushi Nozawa’s well-known trademarks implies that the
 7   quality of the goods and services offered by Defendant is the same as that of Sushi
 8   Nozawa.
 9                                 FIRST CLAIM FOR RELIEF
10                     (Federal Trademark Infringement (15 U.S.C. § 1114))
11         31.    Sushi Nozawa refers to the allegations contained in paragraphs 1
12   through 30 above and incorporates them by reference as though fully set forth herein.
13         32.    Sushi Nozawa has used the Registered Marks in interstate commerce in
14   connection with the advertising and promotion of its restaurant goods and services.
15         33.    Without authorization, Defendant has used and continues to use the THE
16   HAND ROLL BAR EXPERIENCE Marks in interstate commerce in connection with
17   its restaurant business and sushi products.
18         34.    Sushi Nozawa is informed and believes, and based thereon alleges, that
19   Defendant’s unauthorized use of THE HAND ROLL BAR EXPERIENCE Marks has
20   caused, and will likely continue to cause, confusion, mistake, or deception in the
21   relevant consumer market.
22         35.    The actions of Defendant as described herein constitute infringement of
23   Sushi Nozawa’s Registered Marks in violation of 15 U.S.C. § 1114(1).
24         36.    Defendant’s infringing acts have caused and will continue to cause Sushi
25   Nozawa to suffer substantial and irreparable injuries to its reputation and goodwill.
26   Sushi Nozawa has no adequate remedy at law for these injuries. Unless Defendant is
27   restrained by this Court from continuing its trademark infringement in violation of 15
28   U.S.C. § 1114(1), these injuries will continue to accrue. Pursuant to 15 U.S.C.
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                                                                          4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 10 of 16 Page ID #:10



  1   § 1116, Sushi Nozawa is entitled to preliminary and permanent injunctive relief
  2   against Defendant’s trademark infringement.
  3          37.    Sushi Nozawa is entitled, under 15 U.S.C. § 1117, to recover
  4   Defendant’s profits realized as a result of Defendant’s trademark infringement.
  5   Defendant’s profits are in an amount not yet ascertained but to be proven at trial.
  6          38.    Sushi Nozawa is also entitled, under 15 U.S.C. § 1117, to recover its
  7   damages incurred as a result of Defendant’s trademark infringement. Sushi Nozawa
  8   damages are in an amount not yet ascertained but to be proven at trial.
  9          39.    Sushi Nozawa is informed and believes, and based thereon alleges, that
 10   Defendant has acted in bad faith and/or willfully in using THE HAND ROLL BAR
 11   EXPERIENCE Marks in connection with its restaurant services and sushi product.
 12   Sushi Nozawa is therefore entitled, pursuant to 15 U.S.C. § 1117, to recover threefold
 13   Defendant’s profits realized by reason of its trademark infringement. Sushi Nozawa
 14   is further entitled under 15 U.S.C. § 1117 to recover the attorneys’ fees incurred by it
 15   in this action.
 16                                SECOND CLAIM FOR RELIEF
 17                       (Federal Unfair Competition (15 U.S.C. § 1125(a)))
 18          40.    Sushi Nozawa refers to the allegations contained in paragraphs 1
 19   through 39 above and incorporates them by reference as though fully set forth herein.
 20          41.    Sushi Nozawa is informed and believes, and based thereon alleges, that
 21   Defendant’s unauthorized use of the THE HAND ROLL BAR EXPERIENCE Marks
 22   in connection with its goods and services constitutes a false designation of origin, a
 23   false or misleading description of fact, and/or a false or misleading representation of
 24   fact, and has caused and is likely to cause confusion, mistake, and/or deception as to:
 25          a.     the affiliation, connection or association of the Registered Marks
 26                 with Defendant;
 27          b.     the origin, sponsorship or approval of Defendant’s use of the
 28                 Registered Marks; and
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                                                                           4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 11 of 16 Page ID #:11



  1         c.     the nature, characteristics, or qualities of Defendant’s goods that
  2                bear and services that are rendered in connection with the THE
  3                HAND ROLL BAR EXPERIENCE Marks.
  4         42.     The aforesaid acts constitute unfair competition in violation of 15
  5   U.S.C. § 1125(a).
  6         43.    Defendant’s infringing acts have caused and will continue to cause Sushi
  7   Nozawa to suffer substantial and irreparable injuries to its reputation and goodwill in
  8   violation of 15 U.S.C. § 1125(a) and is continuing to cause substantial and irreparable
  9   injury. Sushi Nozawa has no adequate remedy at law for these injuries. Unless
 10   Defendant is restrained by this Court from continuing its unfair competition and false
 11   designation of origin in violation of 15 U.S.C. § 1125(a), these injuries will continue
 12   to accrue. Pursuant to 15 U.S.C. § 1116, Sushi Nozawa is entitled to preliminary and
 13   permanent injunctive relief against Defendant’s unfair competition and false
 14   designation of origin.
 15         44.    Sushi Nozawa has suffered, and will continue to suffer, damages
 16   as a result of Sushi Nozawa’s unauthorized use of the THE HAND ROLL
 17   BAR EXPERIENCE Marks.
 18         45.    Sushi Nozawa is entitled, under 15 U.S.C. § 1117, to recover
 19   Defendant’s profits realized as a result of Defendant’s unfair competition and
 20   false designation of origin. Defendant’s profits are in an amount not yet
 21   ascertained but to be proven at trial.
 22         46.    Sushi Nozawa is also entitled, under 15 U.S.C. § 1117, to recover
 23   its damages incurred as a result of Defendant’s unfair competition and false
 24   designation of origin. Sushi Nozawa’s damages are in an amount not yet
 25   ascertained but to be proven at trial.
 26         47.    Sushi Nozawa is informed and believes, and based thereon alleges, that
 27   Defendant has acted in bad faith and/or willfully in using the THE HAND ROLL
 28   BAR EXPERIENCE Marks in connection with its restaurant services and sushi
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                                                                            4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 12 of 16 Page ID #:12



  1   products, particularly sushi hand rolls. Sushi Nozawa is therefore entitled, pursuant
  2   to 15 U.S.C. § 1117, to recover threefold Defendant’s profits realized by reason of its
  3   unfair competition and false designation of origin. Sushi Nozawa is further entitled
  4   under 15 U.S.C. § 1117 to recover the attorneys’ fees incurred by it in this action.
  5                                  THIRD CLAIM FOR RELIEF
  6                   (Unfair Competition Under the California Common Law)
  7         48.    Sushi Nozawa refers to the allegations contained in paragraphs 1
  8   through 47 above and incorporates them by reference as though fully set forth herein.
  9         49.    The acts of Defendant, complained of above, constitute unfair
 10   competition in violation of the common law of the State of California.
 11         50.    Defendant’s unfair competition has caused substantial and irreparable
 12   injury to Sushi Nozawa and is continuing to cause substantial and irreprable injury.
 13   Sushi Nozawa has no adequate remedy at law for these injuries. Unless Defendant is
 14   restrained by this Court from continuing its unfair competition, these injuries will
 15   continue to accrue. Sushi Nozawa is entitled to preliminary and permanent injunctive
 16   relief against Defendant’s unfair competition.
 17         51.    Sushi Nozawa has suffered, and will continue to suffer, damages as a
 18   result of Defendant’s unfair competition.
 19         52.    Sushi Nozawa is entitled to recover Defendant’s profits realized as a
 20   result of Defendant’s unfair competition. Defendant’s profits are in an amount not
 21   yet ascertained but to be proven at trial.
 22         53.    Sushi Nozawa is also entitled to recover its damages incurred as a result
 23   of Defendant’s unfair competition. Sushi Nozawa’s damages are in an amount not
 24   yet ascertained but to be proven at trial.
 25         54.    Upon information and belief, Defendant’s acts have been committed and
 26   are being committed with the deliberate purpose and intent of appropriating and
 27   trading on Sushi Nozawa’s goodwill and reputation in conscious disregard for the
 28   rights of Sushi Nozawa. Such conduct under Cal. Civ. Code § 3294, entitles Sushi
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                                                                           4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 13 of 16 Page ID #:13



  1   Nozawa to exemplary damages in an amount appropriate to punish and set an
  2   example of Defendant.
  3                                FOURTH CLAIM FOR RELIEF
  4                           (California Statutory Unfair Competition
  5                           (Cal. Bus. & Prof. Code §§ 17200 et seq.))
  6         55.    Sushi Nozawa refers to the allegations contained in Paragraphs 1
  7   through 54 above and incorporates them by reference as though fully set forth herein.
  8         56.    Defendant, by doing the acts alleged herein, has acted in violation of 15
  9   U.S.C. §§ 1114 and 1125, and Cal. Bus. & Prof. Code § 14247, and has thereby
 10   engaged in unfair and unlawful business practices constituting statutory unfair
 11   competition in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.
 12         57.    Defendant’s unfair and unlawful business practices in violation of Cal.
 13   Bus. & Prof. Code §§ 17200 et seq. have caused substantial and irreparable injury to
 14   Sushi Nozawa and are continuing to cause substantial and irreparable injury. Sushi
 15   Nozawa has no adequate remedy at law for these injuries. Unless Defendant is
 16   restrained by this Court from continuing its unfair and unlawful business practices in
 17   violation of Cal. Bus. & Prof. Code §§ 17200 et seq., these injuries will continue to
 18   accrue. Pursuant to Cal. Bus. & Prof. Code § 17204, Sushi Nozawa is entitled to
 19   preliminary and permanent injunctive relief against Defendant’s unfair and unlawful
 20   business practices constituting statutory unfair competition in violation of Cal. Bus.
 21   & Prof. Code §§ 17200 et seq.
 22                                      PRAYER
 23         WHEREFORE, Sushi Nozawa, prays for judgment as follows:
 24         a.     That Defendant, its agents, servants, employees, successors,
 25                assigns and attorneys and any related companies, and all persons
 26                in active concert or participation with one or more of them, be
 27                permanently enjoined and restrained from using the name or
 28                designation THE HAND ROLL BAR EXPERIENCE, or THE
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                                                                            4826-4879-7091.v1
Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 14 of 16 Page ID #:14



  1              HRB EXPERIENCE, or any other mark that contains the term
  2              “HAND ROLL BAR” or is confusingly similar to the Registered
  3              Marks;
  4        b.    That Defendant, its agents, servants, employees, successors,
  5              assigns and attorneys and any related companies, and all persons
  6              in active concert or participation with one or more of them, be
  7              permanently enjoined and restrained from using the term “HAND
  8              ROLL BAR” in any advertising or marketing in connection with
  9              restaurant services;
 10        c.    For an order requiring Defendant to file with this Court and to
 11              serve upon Sushi Nozawa within thirty (30) days after service of
 12              an injunction, a report in writing under oath setting forth in detail
 13              the manner and form in which Defendant has complied with the
 14              injunction;
 15        d.    For an order requiring Defendant to engage in corrective
 16              advertising to correct any misperceptions resulting from its use of
 17              the designations THE HAND ROLL BAR EXPERIENCE, or
 18              THE HRB EXPERIENCE;
 19        e.    For an award of compensatory damages in an amount to be
 20              determined at trial;
 21        f.    For an award of prejudgment interest as authorized by law;
 22        g.    For an order requiring Defendant to account for and pay over to
 23              Sushi Nozawa the profits realized by Defendant by reason of its
 24              use of the designations THE HAND ROLL BAR EXPERIENCE,
 25              or THE HRB EXPERIENCE, and/or a reasonable royalty, as well
 26              as the actual damages suffered by Sushi Nozawa as a result of
 27              such use, with any such amount trebled pursuant to 15 U.S.C.
 28              § 1117;
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Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 15 of 16 Page ID #:15



  1        h.    For a finding that this is an exceptional case under the Lanham
  2              Act;
  3        i.    For exemplary damages as authorized by law;
  4        j.    For an award of reasonable attorney fees, investigatory fees and
  5              expenses; and
  6        k.    For any such other relief that the circumstances may require and
  7              that the Court deems just and proper.
  8

  9   Dated: September 4, 2019
 10                                    ROBERT L. WALLAN
                                       CAROLYN S. TOTO
 11                                    MICHAEL R. KREINER
                                       PILLSBURY WINTHROP SHAW PITTMAN LLP
 12

 13
                                       By       /s/ Robert L. Wallan
 14                                             Robert L. Wallan
 15                                    Attorneys for Plaintiff Sushi Nozawa, LLC
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Case 2:19-cv-07653-ODW-SS Document 1 Filed 09/04/19 Page 16 of 16 Page ID #:16



  1                           DEMAND FOR JURY TRIAL
  2         Plaintiff Sushi Nozawa, LLC hereby demands a jury trial, as provided by Rule
  3   38 of the Federal Rules of Civil Procedure, on all claims that are triable to a jury.
  4

  5   Dated: September 4, 2019
  6                                        ROBERT L. WALLAN
                                           CAROLYN S. TOTO
  7                                        MICHAEL R. KREINER
                                           PILLSBURY WINTHROP SHAW PITTMAN LLP
  8

  9                                        By       /s/ Robert L. Wallan
 10
                                                    Robert L. Wallan
                                           Attorneys for Plaintiff Sushi Nozawa, LLC
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